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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

In re: Chapter 11

ENERGY FUTURE HOLDINGS CORP., e? ai.’ Case No. 14-10979 (CSS)
Debtors. (Jointly Administered}

Re: D.E, 2855

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CERTIFICATION OF COUNSEL CONCERNING AMENDED
ORDER AUTHORIZING THE DEBTORS TO FILE UNDER SEAL
THE CERTAIN PORTIONS OF COMMERCIALLY SENSITIVE
INFORMATION SET FORTH IN THE DEBTORS’ MOTION FOR ENTRY
OF AN ORDER APPROVING THE 2615 COMPENSATION PROGRAMS

The undersigned hereby certifies as follows:

l. On November 22, 2014, the above-captioned debtors and debtors in possession
(collectively, the “Debtors”) filed the Motion of Energy Future Holdings Corp., et al., for Entry
of an Order Authorizing the Debtors to File Under Seal the Certain Portions of Commercially
Sensitive Information Set Forth in the Debtors’ Motion for Entry of an Order Approving the
2015 Compensation Programs [D.1. 2855] (the “Motion”) with the United States Bankruptcy
Court for the District of Delaware, 824 North Market Street, 37 Floor, Wilmington, Delaware
19801 (the “Bankruptcy Court”). Pursuant to the Motion, the Debtors are seeking entry of an
order pursuant to sections 105(a) and 107(b) of title 11 of the United States Code, rule 9018 of
the Federal Rules of Bankruptcy Procedure, and rule 9018-1 of the Local Rules of Bankruptcy

Practice and Procedure of the United States Bankruptcy Court for the District of Delaware,

' The last four digits of Energy Future Holdings Corp.’s tax identification number are 8810. The
location of the debtors’ service address is 1601 Bryan Street, Dallas, Texas 75201. Due to the large
number of debtors in these chapter 11] cases, for which joint administration has been granted, a complete
list of the debtors and the last four digits of their federal tax identification numbers is not provided herein.
A complete list of such information may be obtained on the website of the debtors’ claims and noticing
agent at http:/Avww.efhcaseinfo.com.

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authorizing the Debtors to file under seal commercially sensitive information related to the
Debtors 2015 Compensation Programs Motion (as such term is defined in the Motion), including
information set forth in the supporting declarations therein.

2, Pursuant to the Notice of “Motion of Energy Future Holdings Corp., et al., for
Entry of an Order Authorizing the Debtors to File Under Seal the Certain Portions of
Commercially Sensitive Information Set Forth in the Debtors’ Motion for Entry of an Order
Approving the 2015 Compensation Programs” and Hearing Thereon filed contemporaneously
with the Motion, objections or responses to the Motion were to be filed and served no later than
4:00 p.m. (Eastern Standard Time) on December 11, 2014 at 4:00 pm. (the “Objection
Deadline”). A hearing to consider the relief requested in the Motion is currently scheduled to
take place before the Bankruptcy Court on December 18, 2014 starting at 9:30 a.m. (Eastern
Standard Time).

3. Prior to the Objection Deadline, the Office of the United States Trustee for the
District of Delaware (the “U.S. Trustee”) provided informal comments to the Motion

(collectively, the “Informal Response”).

4, Other than the Informal Response, as of the date hereof, the Debtors have
received no other responses or objections in connection with the Motion nor do any other
objections thereto appear on the Bankruptcy Court’s docket in the Debtors’ chapter 11 cases,
Based on various communications by and between the Debtors and U.S. Trustee, the Debtors
have (i) filed amended materials in connection with the Motion (see D.I. 3021) and (ii) prepared
a revised form of order (the “Revised Order”) in connection with the Motion, which together

fully resolve the Informal Response. A copy of the Revised Order is attached hereto as

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Exhibit A.” A blackline, comparing the Revised Order against the form of order originally filed
along with the Motion is attached hereto as Exhibit B. The Revised Order has been circulated to,
and is acceptable to, the Debtors and the U.S. Trustee.

5. The Debtors therefore respectfully request that the Bankruptcy Court enter the
Revised Order, substantially in the form attached hereto as Exhibit A, at its earliest convenience.

[Remainder of page left intentionally blank. |

2 The Revised Order is in the same form as previously filed with the Bankruptcy Court on
December 16, 2014. See D.I. 3021 at Ex. A.

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Dated: December 16, 2014

Wilmington, Delaware

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